Case 1:05-cv-01163-.]DT-STA Document 11 Filed 08/22/05 Page 1 of 3 P%ge|D 11
q§b

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION

DWIGHT B. WALKER, personal
representation of the Estate of
WILLIE MAE WALKER,

Plaintiff,
vs.

GREYHOUND BUS LINES, TRANS USA
CORPORATION, ROXANN ELLENS,
THERESA BROWN, DIANA GONZALEZ,

' DEBORAH TAYLOR, wARREENA
HENDERSON, RAYMOND wELLS,
and/or cONNIE vANDvINE,

Defendants.

 

ANNA M. HILL, Individually and as
Personal Representative of the
Estate of CHARLOTTE THOMPSON,
Deceased, JAMES THOMPSON, JULIA T.
HARMON, CLAUDIA THOMPSON, SHIRLEY
THOMPSON, CHARLENE THOMPSON, PAMELA
THOMPSON, LYDELL THOMPSON, LORINE
AUSTIN, FRANCES DAVIDSON, LARRY
THOMPSON, CLIFTON THOMPSON, PAULINE
THOMPSON and ROBERT C. PURVIS,

Plaintiffs,
vs.
GREYHOUND LINES, INC., a Delaware
corporation, ARC INTERNATIONAL
CORPORATION dba TRANS USA CORPORATION
and ALEX YU CHANG,

Defendants.

 

TERESA SMITH,
Plaintiff,
vs.

GREYHOUND LINES, INC., a
Delaware Ccrporation,

Defendants.

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with Hule 58 and,-'or_?!-J (a) FRCP on _S/é)£j[_©_§_

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NO. ltO4-CV-Ol342-T/TA

Case NO.

1-05-1163 T/AN

JUDGE TODD / ANDERSON

NO. 05-1079~T/AN

 

Case 1:05-cv-01163-.]DT-STA Document 11

DOROTHY A. STEELE,
Plaintiff,
VS.

ESTATE OF THOMAS DICKERSON, II,
As Employee/Agent Greyhound
Lines, Inc., and GREYHOUND
LINES, INC., and ALEX YU CHANG,
as Employee/Agent of COASTAL
GROUP CORPCRATION and TRANS
USA CORPORATION,

Defendants.

Filed 08/22/05 Page 2 of 3 Page|D 12

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NO. C-Gl-05-2480 T/An

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ORDER ON JOINT MOTION TO CONSOLIDATE
CASES FOR ALL PURPOSES OF PRETRIAL PROCEEDINGS

 

Upon the Joint and unopposed Motion of the parties, and for good

cause shown, it is hereby Ordered that all pretrial proceedings in

these cases shall be consolidated, with the details and scheduling of

these pretrial proceedings to be determined by a Joint Scheduling

Order to be entered at the Case Management Conference.

SO ORDERED this équéciay of August, 2005.

F:\GREYHOUND\CONSOLIDATION ORDER

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JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CV-01163 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

